Case 9:18-CV-00139-RC-KFG Document 10 Filed 10/18/18 Page 1 of 4 Page|D #: 76

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Case 9:18-CV-00139-RC-KFG Document 10 Filed 10/18/18 Page 2 of 4 Page|D #: 77

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Case 9:18-CV-00139-RC-KFG Document 10 Filed 10/18/18 Page 3 of 4 Page|D #: 78
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Case 9:18-CV-00139-RC-KFG Document 107 |:i|edv 10/18/18 Page 4 of 4 Page|D #: 79 '

  

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